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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )        1:09-CR-00339 OWW
                                        )
12                                      )
                    Plaintiff,          )
13                                      )
          v.                            )        STIPULATION AND
14                                      )        ORDER RE: CONTINUANCE
                                        )
15                                      )
     SALVADOR GUTIERREZ-MACHUCA,        )
16                                      )
                                        )
17                                      )
                    Defendant.          )
18   ___________________________________)

19        Defendant SALVADOR GUTIERREZ-MACHUCA, by and through his

20   attorney, ROGER WILSON, and the United States of America, by and

21   through its attorneys, BENJAMIN B. WAGNER, United States Attorney,

22   and KAREN A. ESCOBAR, Assistant United States Attorney, hereby

23   enter into the following stipulation:

24        1.   The parties to the above-captioned matter agree to vacate

25   the May 2, 2011, sentencing hearing, set in this matter, and reset

26   the matter for May 23, 2011, at 9:00 a.m.

27        2.   The parties stipulate that the continuance is necessary

28   due to the unavailability of counsel for the government, who will

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 1   be on sick leave.

 2   DATED: April 7, 2011                        Respectfully submitted,

 3                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 4
                                                  By: /s/ Karen A. Escobar
 5                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 6
                                                   /s/ Roger Wilson
 7                                                 ROGER WILSON
                                                   Attorney for Defendant
 8                                                 SALVADOR GUTIERREZ-MACHUCA

 9
                                    O R D E R
10
           Having read and considered the foregoing stipulation,
11
           IT IS THE ORDER of the Court that the current hearing date of
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     May 2, 2011, is hereby vacated in this matter and is reset for May
13
     23, 2011, at 9:00 a.m.
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                       IT IS SO ORDERED.
17
     Dated: April 8, 2011                   /s/ Oliver W. Wanger
18   emm0d6                            UNITED STATES DISTRICT JUDGE

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